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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

PHYLLIS CARSON; LORNE                       )
COSMAN; WILLIAM DRAPER;                     )
PHILLIP ERICKSON; SCOTT                     )      C.A. No. 22-208-CFC
EVANS; TERENCE GRANER;                      )
DONALD HARMAN; SARAH                        )
HOUSEHOLDER; TRUDY L.                       )
GRANER; TRUDY LETSON; SABINE                )
MILLER; DIANA HOBERT-POWELL;                )
JANET PURVIS; PATRICIA                      )
ROBERTS; CAROLE SCHAUER;                    )
CARA WASHINGTON; STEPHEN                    )
KAPLITT; DEBORAH THELEN                     )
individually and on behalf of all others    )
similarly situated,                         )
                                            )
             Plaintiffs,                    )
                                            )
      v.
                                            )
HP INC.,                                    )
                                            )
             Defendant.                     )

           DEFENDANT’S MOTION TO DISMISS AND TO STRIKE

      Defendant HP Inc. (“HP”), by and through its undersigned counsel,

respectfully moves to dismiss Plaintiffs’ First Amended Class Action Complaint

(D.I. 11) in its entirety and to strike the class allegations therein with prejudice.

      The grounds for this motion are set forth in HP’s Opening Brief in Support of

Defendant’s Motion to Dismiss and to Strike, filed contemporaneously herewith.
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Dated: June 23, 2022




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